                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

TENNESSEE STATE CONFERENCE                )
OF THE N.A.A.C.P., DEMOCRACY              )
NASHVILLE-DEMOCRATIC                      )
COMMUNITIES, THE EQUITY                   )
ALLIANCE, and ANDREW                      )
GOODMAN FOUNDATION,                       )
                                          )           Case No. 3:19-CV-00365
        Plaintiffs,                       )           Judge Aleta A. Trauger
                                          )
v.                                        )
                                          )
TRE HARGETT, in his official capacity )
as Secretary of State of the State of     )
Tennessee, MARK GOINS, in his             )
official capacity as Coordinator of       )
Elections for the State of Tennessee,     )
HERBERT SLATERY III, in his official )
Capacity as Attorney General of the State )
of Tennessee, the STATE ELECTION          )
COMMISSION, and DONNA                     )
BARRETT, JUDY BLACKBURN,                  )
GREG DUCKETT, MIKE                        )
MCDONALD, JIMMY WALLACE,                  )
TOM WHEELER, and KENT                     )
YOUNCE, in their official capacities as )
members of the State Election             )
Commission,                               )
                                          )
        Defendants.                       )


             STATE DEFENDANTS’ ANSWER TO AMENDED COMPLAINT


       Defendants Tre Hargett, in his official capacity as the Secretary of State, Mark Goins, in

his official capacity as Coordinator of Elections, Herbert H. Slatery III, in his official capacity as

Attorney General and Reporter, the State Election Commission, and Donna Barrett, Judy

Blackburn, Greg Duckett, Mike McDonald, Jimmy Wallace, Tom Wheeler, and Kent Younce, in


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their official capacities as State Election Commissioners (hereafter “State Defendants”) hereby

state the following for their Answer to Plaintiff’s Complaint.

                                        INTRODUCTION

   1. State Defendants admit that the challenged Act was signed into law on May 2, 2019 and

was scheduled to take effect October 1, 2019. State Defendants further admit the allegation of

paragraph no. 1 to the extent that they assert Plaintiffs’ stated purpose in bringing this action but

deny them for all other purposes and deny the characterization of the challenged Act.

   2. State Defendants deny the allegations in paragraph no. 2.

   3. State Defendants admit the allegations of paragraph no. 3.

   4. State Defendants admit that registration is a prerequisite to exercising the right to vote.

The remainder of the allegation of paragraph no. 4 assert conclusions of law to which no response

is required, and to the extent a response is required, State Defendants deny the allegations of

paragraph no. 4.

   5. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 5, and therefore deny the allegations.

   6. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 6, and therefore deny the allegations.

   7. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 7, and therefore deny the allegations.

   8. State Defendants submit that the Act speaks for itself and deny Plaintiffs’ characterizations

and interpretations thereof.

   9. State Defendants submit that the Act speaks for itself and deny Plaintiffs’ characterizations

and interpretations thereof.



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   10. State Defendants submit that the Act speaks for itself and deny Plaintiffs’ characterizations

and interpretations thereof.

   11. State Defendants submit that the Act speaks for itself and deny Plaintiffs’ characterizations

and interpretations thereof.

   12. State Defendants submit that the Act speaks for itself and deny Plaintiffs’ characterizations

and interpretations thereof.

   13. State Defendants submit that the Act speaks for itself and deny Plaintiffs’ characterizations

and interpretations thereof.

                                 JURISDICTION AND VENUE

   14. State Defendants admit the allegations of paragraph no. 14 to the extent that they assert

Plaintiffs’ stated purpose in bringing this action. State Defendants deny the allegations of

paragraph no. 14 to the extent that they provide that this Court has subject-matter jurisdiction over

the Plaintiffs’ complaint.

   15. State Defendants deny the allegations of paragraph no. 15 to the extent they provide that

this Court has subject-matter jurisdiction over the Plaintiffs’ Complaint.

   16. State Defendants admit the allegations of paragraph no. 16.

   17. State Defendants admit the allegations of paragraph no. 17.

   18. State Defendants admit the allegations of paragraph no. 18 to the extent they provide that

if this Court has subject-matter jurisdiction over this case, then venue would be proper in the

Middle District, and otherwise deny the allegations of paragraph no. 18.

   19. State Defendants deny the allegations of paragraph no. 19.




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                                          PLAINTIFFS

   20. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 20, and therefore deny the allegations.

   21. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 21, and therefore deny the allegations.

   22. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 22, and therefore deny the allegations.

   23. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 23, and therefore deny the allegations.

   24. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 24, and therefore deny the allegations.

   25. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 25, and therefore deny the allegations.

   26. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 26, and therefore deny the allegations.

   27. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 27, and therefore deny the allegations.

   28. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 28, and therefore deny the allegations.

   29. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 29, and therefore deny the allegations.

   30. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 30, and therefore deny the allegations.



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   31. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 31, and therefore deny the allegations.

                                          DEFENDANTS

   32. State Defendants admit the allegations of paragraph no. 32.

   33. State Defendants admit the allegations of paragraph no. 33.

   34. State Defendants admit the allegations of paragraph no. 34.

   35. The allegations of the first sentence of paragraph no. 35 are admitted. For the remaining

allegations of paragraph no. 35, State Defendants submit that the Act speaks for itself, and

therefore deny Plaintiffs’ characterizations and interpretations thereof.

                                    FACTUAL ALLEGATIONS

                  Plaintiffs’ Voter Registration Activities Strengthen Democracy

   36. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 36, and therefore deny the allegations.

   37. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 37, and therefore deny the allegations.

   38. State Defendants admit the allegations of the first clause of paragraph no. 38, and submit

that the legislative history speaks for itself for the second clause of paragraph no. 38.

   39. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 39, and therefore deny the allegations.

   40. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 40, and therefore deny the allegations.

   41. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 41, and therefore deny the allegations.



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   42. State Defendants submit that data from the Tennessee Secretary of State regarding voter

turnout speaks for itself. State Defendants lack knowledge or information sufficient to form a

belief as to the truth of the remainder of the factual allegations contained in paragraph no. 42,

and therefore deny the allegations.

            Plaintiffs’ Voter Registration Activities Are Core Political Speech and
                                     Associational Activity

   43. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 43, and therefore deny the allegations.

   44. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 44, and therefore deny the allegations.

   45. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 45, and therefore deny the allegations. By

way of further response, the allegations of paragraph no. 45 constitute arguments of law and not

well-pleaded facts, for which no response is required. To the extent a response is required, State

Defendants deny the validity of Plaintiffs’ legal arguments.

    Challenged Provisions and Their Impact on Plaintiffs’ Voter Registration Activities

   A. Section 2-2-142: Pre-drive Registration, Consent for Retention of Voter Records, and
      Training Requirements

   46. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterizations and interpretations thereof.

   47. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterizations and interpretations thereof. State Defendants lack knowledge or information

sufficient to form a belief as to the truth of the remainder of the factual allegations contained in

paragraph no. 47, and therefore deny the allegations.



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    48. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterizations and interpretations thereof. State Defendants lack knowledge or information

sufficient to form a belief as to the truth of the remainder of the factual allegations contained in

paragraph no. 48, and therefore deny the allegations.

    49. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterizations and interpretations thereof.

    50. The allegations of paragraph no. 50 constitute arguments of law and not well-pleaded

facts, for which no response is required. To the extent a response is required, State Defendants

deny the validity of Plaintiffs’ legal arguments.

    51. The allegations of paragraph no. 51 constitute arguments of law and not well-pleaded

facts, for which no response is required. To the extent a response is required, State Defendants

deny the validity of Plaintiffs’ legal arguments.

    B. Section 2-2-143: Civil Penalties for Submission of “Incomplete” Forms

    52. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterizations and interpretations thereof.

    53. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterizations and interpretations thereof. State Defendants further submit that the legislative

history speaks for itself. By way of further response, the allegations of paragraph no. 53

constitute arguments of law and not well-pleaded facts, for which no response is required. To the

extent a response is required, State Defendants deny the validity of Plaintiffs’ legal arguments.

    54. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterizations and interpretations thereof. State Defendants further submit that the legislative

history speaks for itself



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   55. State Defendants submit that the Act and its drafts speak for themselves and deny

Plaintiffs’ characterizations and interpretations thereof. By way of further response, the

allegations of paragraph no. 55 constitute arguments of law and unsubstantiated speculation, not

well-pleaded facts, for which no response is required. To the extent a response is required, State

Defendants deny the validity of Plaintiffs’ legal arguments and unsubstantiated speculation.

   56. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterizations and interpretations thereof, and further deny all allegations of vagueness and/or

ambiguity with respect to the Act. By way of further response, the allegations of paragraph no.

56 constitute arguments of law and unsubstantiated speculation, not well-pleaded facts, for which

no response is required. To the extent a response is required, State Defendants deny the validity

of Plaintiffs’ legal arguments and unsubstantiated speculation.

   57. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterizations and interpretations thereof, and further deny all allegations of vagueness and/or

ambiguity with respect to the Act. By way of further response, the allegations of paragraph no.

57 constitute arguments of law and unsubstantiated speculation, not well-pleaded facts, for which

no response is required. To the extent a response is required, State Defendants deny the validity

of Plaintiffs’ legal arguments and unsubstantiated speculation. State Defendants further deny

that the Act imposes any unconstitutional burden.

   58. State Defendants admit that potential voters may register to vote using a state or federal

form and that the state form contains a “declaration of eligibility” which, among other things,

requires applicants to affirm that they plan to remain at the residence on the application for “an

undetermined period of time.” State Defendants admit that the federal form does not require

applicants to affirm that they will be at their residence for “an undetermined period of time,” but



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does require applicants to affirm, among other things, that they “meet the eligibility

requirements” of the state in which they are registering and “subscribe to any oath required” by

the state. As to all remaining allegations of paragraph no. 58, State Defendants submit that the

Act speaks for itself and deny Plaintiffs’ characterizations and interpretations thereof, and further

deny all allegations of vagueness and/or ambiguity with respect to the Act. By way of further

response, the allegations of paragraph no. 58 constitute arguments of law and unsubstantiated

speculation, not well-pleaded facts, for which no response is required. To the extent a response

is required, State Defendants deny the validity of Plaintiffs’ legal arguments and unsubstantiated

speculation.

   59. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterizations and interpretations thereof, and further deny all allegations of vagueness and/or

ambiguity with respect to the Act. By way of further response, the allegations of paragraph no.

59 constitute arguments of law and unsubstantiated speculation, not well-pleaded facts, for which

no response is required. To the extent a response is required, State Defendants deny the validity

of Plaintiffs’ legal arguments and unsubstantiated speculation. State Defendants further deny that

the Act imposes any unconstitutional burden.

   60. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterizations and interpretations thereof. State Defendants further submit that the legislative

history speaks for itself. State Defendants further deny all allegations of vagueness and/or

ambiguity with respect to the Act. By way of further response, the allegations of paragraph no.

60 constitute arguments of law and unsubstantiated speculation, not well-pleaded facts, for which

no response is required. To the extent a response is required, State Defendants deny the validity




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of Plaintiffs’ legal arguments and unsubstantiated speculation. State Defendants further deny

that the Act imposes any unconstitutional burden.

   61. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterization and interpretations thereof, and further deny all allegations of vagueness and/or

ambiguity with respect to the Act. By way of further response, the allegations of paragraph no.

61 constitute arguments of law and unsubstantiated speculation, not well-pleaded facts, for which

no response is required. To the extent a response is required, State Defendants deny the validity

of Plaintiffs’ legal arguments and unsubstantiated speculation.

   62. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterization and interpretations thereof.

   63. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterization and interpretations thereof, and further deny all allegations of vagueness and/or

ambiguity with respect to the Act. By way of further response, the allegations of paragraph no.

63 constitute arguments of law and unsubstantiated speculation, not well-pleaded facts, for which

no response is required. To the extent a response is required, State Defendants deny the validity

of Plaintiffs’ legal arguments and unsubstantiated speculation.

              C. The “Unpaid Volunteer” Exemption in Sections 2-2-142 and 2-2-143

   64. State Defendants submit that the Act speaks for itself.

   65. State Defendants submit that the Act speaks for itself.

   66. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterization and interpretations thereof, and further deny all allegations of vagueness and/or

ambiguity with respect to the Act. By way of further response, the allegations of paragraph no.

66 constitute unsubstantiated speculation, not well-pleaded facts, for which no response is



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required. To the extent a response is required, State Defendants deny the validity of Plaintiffs’

unsubstantiated speculation.

   67. State Defendants deny the allegations of paragraph no. 67.

   68. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterization and interpretations thereof, and further deny all allegations of vagueness and/or

ambiguity with respect to the Act. By way of further response, the allegations of paragraph no.

68 constitute arguments of law and unsubstantiated speculation, not well-pleaded facts, for which

no response is required. To the extent a response is required, State Defendants deny the validity

of Plaintiffs’ legal arguments and unsubstantiated speculation.

   D. Section 2-19-145: Mandatory Disclaimers for Communications “Regarding Voter
      Registration Status”

   69. State Defendants submit that the Act speaks for itself.

   70. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterization and interpretations thereof, and further deny all allegations of vagueness and/or

ambiguity with respect to the Act. By way of further response, the allegations of paragraph no.

70 constitute arguments of law, not well-pleaded facts, for which no response is required. To the

extent a response is required, State Defendants deny the validity of Plaintiffs’ legal arguments.

   71. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterization and interpretations thereof. State Defendants lack knowledge or information

sufficient to form a belief as to the truth of the factual allegations contained in paragraph no. 71,

and therefore deny the allegations.

   72. The allegations of paragraph no. 72 constitute arguments of law, not well-pleaded facts,

for which no response is required. To the extent a response is required, State Defendants deny




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the validity of Plaintiffs’ legal arguments. State Defendants further deny that the Act imposes

any unconstitutional burden.

   73. The allegations of paragraph no. 72 constitute arguments of law, not well-pleaded facts,

for which no response is required. To the extent a response is required, State Defendants deny

the validity of Plaintiffs’ legal arguments.

   E. Cumulative Impact of the Act

   74. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 74, and therefore deny the allegations.

   75. State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterizations and interpretations thereof. State Defendants lack knowledge or information

sufficient to form a belief as to the truth of the factual allegations contained in paragraph no. 75,

and therefore deny the allegations.

   76. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 76, and therefore deny the allegations.

   77. State Defendants lack knowledge or information sufficient to form a belief as to the truth

of the factual allegations contained in paragraph no. 77, and therefore deny the allegations.

                                 NVRA Notice of Noncompliance

   78. State Defendants submit that the NVRA and cited cases constitute matters of law and not

matters of well-pleaded fact, and thus require no response. To the extent that a response is

required, Defendants deny the validity of Plaintiffs’ legal arguments. State Defendants lack

knowledge or information sufficient to form a belief as to whether “Plaintiffs’ voter registration

efforts are consistent” with the NVRA, and therefore deny the allegations.




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    79. State Defendants admit that Plaintiffs sent a letter to Secretary Hargett and Coordinator

Goins on May 14, 2019 alleging that the Act violates the NVRA. State Defendants deny the Act

violates the NVRA.

    80. State Defendants submit that the NVRA speaks for itself.

    81. State Defendants submit that the allegations of paragraph no. 81 constitute matters of law

and not matters of well-pleaded fact, and thus require no response. To the extent that a response

is required, Defendants deny the validity of Plaintiffs’ legal arguments and characterizations.

State Defendants further deny that the Act violates the NVRA.

    82. State Defendants submit that the allegations of paragraph no. 82 constitute matters of law

and not matters of well-pleaded fact, and thus require no response. To the extent that a response

is required, Defendants deny the validity of Plaintiffs’ legal arguments and characterizations.

State Defendants lack knowledge or information sufficient to form a belief as to the truth of the

factual allegations contained in paragraph no. 82, and therefore deny the allegations.

    83. State Defendants admit that Defendant Goins responded to Plaintiffs’ NVRA letter,

which is appended to the Amended Complaint as Exhibit B, and that the text of the letter speaks

for itself.

    84. State Defendants admit that more than 90 days have passed since Plaintiffs letter was

received. State Defendants deny the remaining allegations of paragraph no. 84.

                                            COUNT 1

                                         42 U.S.C. § 1983

  Infringement of the Due Process Clause in Violation of the Fourteenth Amendment as to
                          Sections 2-2-142, 2-2-143, and 2-19-145

    85. State Defendants repeat and reference all of the above responses to Plaintiffs’ allegations

of the Complaint as though fully set forth herein.

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   86. The allegations of paragraph no. 86 constitute arguments of law, not well-pleaded facts,

for which no response is required. To the extent a response is required, State Defendants deny the

validity of Plaintiffs’ legal arguments.

   87. State Defendants submit that the Act speaks for itself and deny Plaintiffs’ characterizations

and interpretations thereof, and further deny all allegations of vagueness and/or ambiguity with

respect to the Act. By way of further response, the allegations of paragraph no. 87 constitute

arguments of law, not well-pleaded facts, for which no response is required. To the extent a

response is required, State Defendants deny the validity of Plaintiffs’ legal arguments.

   88. State Defendants submit that the Act speaks for itself and deny Plaintiffs’ characterizations

and interpretations thereof, and further deny all allegations of vagueness and/or ambiguity with

respect to the Act. By way of further response, the allegations of paragraph no. 88 constitute

arguments of law, not well-pleaded facts, for which no response is required. To the extent a

response is required, State Defendants deny the validity of Plaintiffs’ legal arguments.

   89. State Defendants admit only that “intentional” or “knowing” violations are subject to

criminal penalties.

   90. State Defendants admit that civil penalties under Section 2-2-143 “may” be applicable

under certain circumstances.

   91. State Defendants submit that the Act speaks for itself and deny Plaintiffs’ characterizations

and interpretations thereof, and further deny all allegations of vagueness and/or ambiguity with

respect to the Act. By way of further response, the allegations of paragraph no. 91 constitute

arguments of law, not well-pleaded facts, for which no response is required. To the extent a

response is required, State Defendants deny the validity of Plaintiffs’ legal arguments.




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   92. State Defendants submit that the Act speaks for itself and deny Plaintiffs’ characterizations

and interpretations thereof, and further deny all allegations of vagueness and/or ambiguity with

respect to the Act. By way of further response, the allegations of paragraph no. 92 constitute

arguments of law, not well-pleaded facts, for which no response is required. To the extent a

response is required, State Defendants deny the validity of Plaintiffs’ legal arguments.

   93. State Defendants submit that the Act speaks for itself and deny Plaintiffs’ characterizations

and interpretations thereof, and further deny all allegations of vagueness and/or ambiguity with

respect to the Act. By way of further response, the allegations of paragraph no. 93 constitute

arguments of law, not well-pleaded facts, for which no response is required. To the extent a

response is required, State Defendants deny the validity of Plaintiffs’ legal arguments.

   94. The allegations of paragraph no. 94 constitute arguments of law, not well-pleaded facts,

for which no response is required. To the extent a response is required, State Defendants deny the

validity of Plaintiffs’ legal arguments.

   95. State Defendants submit that the Act speaks for itself and deny Plaintiffs’ characterizations

and interpretations thereof, and further deny all allegations of vagueness and/or ambiguity with

respect to the Act. By way of further response, the allegations of paragraph no. 95 constitute

arguments of law, not well-pleaded facts, for which no response is required. To the extent a

response is required, State Defendants deny the validity of Plaintiffs’ legal arguments.

   96. State Defendants submit that the Act speaks for itself and deny Plaintiffs’ characterizations

and interpretations thereof, and further deny all allegations of vagueness and/or ambiguity with

respect to the Act. By way of further response, the allegations of paragraph no. 96 constitute

arguments of law, not well-pleaded facts, for which no response is required. To the extent a

response is required, State Defendants deny the validity of Plaintiffs’ legal arguments.



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   97. State Defendants admit only that “intentional” or “knowing” violations are subject to

criminal penalties.

   98. The allegations of paragraph no. 98 constitute arguments of law, not well-pleaded facts,

for which no response is required. To the extent a response is required, State Defendants deny the

validity of Plaintiffs’ legal arguments.

                                             COUNT II

                                           42 U.S.C. § 1983

   Infringement of First Amendment Expressive and Associative Rights of Paid Voter
  Registration Workers and Organizations Using Paid Voter Registration Workers as to
                            Sections 2-2-142 and 2-2-143

   99. State Defendants repeat and reference all of the above responses to Plaintiffs’ allegations

of the Complaint as though fully set forth herein.

   100.        State Defendants submit that the Act speaks for itself and deny Plaintiffs’

characterizations and interpretations thereof. By way of further response, the allegations of

paragraph no. 100 constitute arguments of law, not well-pleaded facts, for which no response is

required. To the extent a response is required, State Defendants deny the validity of Plaintiffs’

legal arguments.

   101.        The allegations of paragraph no. 101 constitute arguments of law, not well-pleaded

facts, for which no response is required. To the extent a response is required, State Defendants

deny the validity of Plaintiffs’ legal arguments.

   102.        The allegations of paragraph no. 102 constitute arguments of law, not well-pleaded

facts, for which no response is required. To the extent a response is required, State Defendants

deny the validity of Plaintiffs’ legal arguments.




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   103.        The allegations of paragraph no. 103 constitute arguments of law, not well-pleaded

facts, for which no response is required. To the extent a response is required, State Defendants

deny the validity of Plaintiffs’ legal arguments.

                                           COUNT III

                                         42 U.S.C. § 1983

  Infringement of the Free Speech Clause of the First Amendment as Incorporated in the
                      Fourteenth Amendment as to Section 2-19-145

   104.        State Defendants repeat and reference all of the above responses to Plaintiffs’

allegations of the Complaint as though fully set forth herein.

   105.        The allegations of paragraph no. 105 constitute arguments of law, not well-pleaded

facts, for which no response is required. To the extent a response is required, State Defendants

deny the validity of Plaintiffs’ legal arguments.

   106.        The allegations of paragraph no. 106 constitute arguments of law, not well-pleaded

facts, for which no response is required. To the extent a response is required, State Defendants

deny the validity of Plaintiffs’ legal arguments.

   107.        The allegations of paragraph no. 107 constitute arguments of law, not well-pleaded

facts, for which no response is required. To the extent a response is required, State Defendants

deny the validity of Plaintiffs’ legal arguments.

   108.        The allegations of paragraph no. 108 constitute arguments of law, not well-pleaded

facts, for which no response is required. To the extent a response is required, State Defendants

deny the validity of Plaintiffs’ legal arguments.

   109.        The allegations of paragraph no. 109 constitute arguments of law, not well-pleaded

facts, for which no response is required. To the extent a response is required, State Defendants

deny the validity of Plaintiffs’ legal arguments.


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                                            COUNT IV

                                         42 U.S.C. § 1983

   Burdens on First Amendment in Connection to the Regulation of Political Speech and
       Fourteenth Amendment in Connection with the Fundamental Right to Vote

   110.        State Defendants repeat and reference all of the above responses to Plaintiffs’

allegations of the Complaint as though fully set forth herein. State Defendants admit the

conclusions of law pled in paragraph no. 110.

   111.        State Defendants submit that the Act speaks for itself and deny Plaintiff’s

characterizations and interpretations thereof. By way of further response, the allegations of

paragraph no. 111 constitute arguments of law, not well-pleaded facts, for which no response is

required. To the extent a response is required, State Defendants deny the validity of Plaintiffs’

legal arguments.

   112.        The allegations of paragraph no. 112 constitute arguments of law, not well-pleaded

facts, for which no response is required. To the extent a response is required, State Defendants

deny the validity of Plaintiffs’ legal arguments.

   113.        The allegations of paragraph no. 113 constitute arguments of law, not well-pleaded

facts, for which no response is required. To the extent a response is required, State Defendants

deny the validity of Plaintiffs’ legal arguments.

   114.        State Defendants admit the allegations of paragraph no. 114.

   115.        The allegations of paragraph no. 115 constitute arguments of law, not well-pleaded

facts, for which no response is required. To the extent a response is required, State Defendants

deny the validity of Plaintiffs’ legal arguments.




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                                            COUNT V

                                     52 U.S.C. § 20507(b)(1)

Violation of the National Voter Registration Act of 1993 Due to the Differential Treatment
                    of Paid and Unpaid Individuals and Organizations

   116.        State Defendants repeat and reference all of the above responses to Plaintiffs’

allegations of the Complaint as though fully set forth herein.

   117.        State Defendants submit that the allegations of paragraph no. 117 constitute matters

of law and not matters of well-pleaded fact, and thus require no response. To the extent that a

response is required, Defendants deny the validity of Plaintiffs’ legal arguments and

characterizations.

   118.        State Defendants submit that allegations of paragraph no. 118 constitute matters of

law and not matters of well-pleaded fact, and thus require no response. To the extent that a

response is required, Defendants deny the validity of Plaintiffs’ legal arguments and

characterizations.

   119.        State Defendants submit that the allegations of paragraph no. 119 constitute matters

of law and not matters of well-pleaded fact, and thus require no response. To the extent that a

response is required, Defendants deny the validity of Plaintiffs’ legal arguments and

characterizations.

   120.        The allegations of paragraph no. 120 constitute matters of law and not matters of

well-pleaded fact, and thus require no response. To the extent that a response is required,

Defendants deny the validity of Plaintiffs’ legal arguments and characterizations.

   121.        State Defendants submit that the allegations of paragraph no. 121 constitute matters

of law and not matters of well-pleaded fact, and thus require no response. To the extent that a




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response is required, Defendants deny the validity of Plaintiffs’ legal arguments and

characterizations.

   122.        The allegations of paragraph no. 122 constitute matters of law and not matters of

well-pleaded fact, and thus require no response. To the extent that a response is required,

Defendants deny the validity of Plaintiffs’ legal arguments and characterizations.

                                           COUNT VI

                                     52 U.S.C. § 20507(a)(2)

Violation of the National Voter Registration Act of 1993 Due to the Failure to Send Notices
                                to Registration Applicants

   123.        State Defendants repeat and reference all of the above responses to Plaintiffs’

allegations of the Complaint as though fully set forth herein.

   124.        State Defendants submit that the NVRA speaks for itself.

   125.        State Defendants submit that the Act speaks for itself and deny Plaintiff’s

characterizations and interpretations thereof. By way of further response, the allegations of

paragraph no. 125 constitute unsubstantiated speculation, not well-pleaded facts, for which no

response is required. To the extent a response is required, State Defendants deny the validity of

Plaintiffs’ unsubstantiated speculation.

   126.        State Defendants submit that the Act speaks for itself and deny Plaintiff’s

characterizations and interpretations thereof. By way of further response, the allegations of

paragraph no. 126 constitute arguments of law and unsubstantiated speculation, not well-pleaded

facts, for which no response is required. To the extent a response is required, State Defendants

deny the validity of Plaintiffs’ arguments of law and unsubstantiated speculation.

   127.        State Defendants lack knowledge or information sufficient to form a belief as to the

truth of the factual allegations contained in paragraph no. 127, and therefore deny the allegations.

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   128.           The allegations of paragraph no. 128 constitute arguments of law, not well-pleaded

facts, for which no response is required. To the extent a response is required, State Defendants

deny the validity of Plaintiffs’ arguments of law.

   129.           Any allegations not specifically addressed or for which a more detailed response is

required are denied.

                                          PRAYER FOR RELIEF

   130.           State Defendants deny that Plaintiffs are entitled to any of the relief prayed for in

          paragraph nos. (i), (ii), (iii), (iv), (v), (vi), (vii) and (viii) of their Prayer for Relief.

                                     Affirmative and Other Defenses

   1. The Court lacks subject-matter jurisdiction over the claims asserted in Plaintiffs’

Complaint.

   2. Plaintiffs’ claims are barred in part or in their entirety because they are not yet ripe for

review.

   3. Plaintiffs’ claims are barred in part or in their entirety by the Burford/Colorado River

abstention doctrines.

   4. No act, omission, or law, policy, practice, or custom of State Defendants has deprived

Plaintiffs of rights secured by the United States Constitution.

   5. Plaintiffs’ claims are non-justiciable.

   6. State Defendants are entitled to, and seek herein to recover their attorneys’ fees and

expenses incurred in this action as provided for by 42 U.S.C. § 1988.

   7. State Defendants reserve their right to amend this Answer as provided by the Federal

Rules of Civil Procedure in order to assert additional affirmative defenses or averments which

might become relevant as facts are discovered.



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                                           Respectfully Submitted,


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                                 CERTIFICATE OF SERVICE


        I hereby certify that a true and exact copy of the foregoing documents have been forwarded
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system
to the parties named below. Parties may access this filing through the Court’s electronic filing
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on this 19th day of December, 2019.

                                                    /s/Alexander S. Rieger
                                                    ALEXANDER S. RIEGER
                                                    Assistant Attorney General




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